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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK-WHITE PLAINS DIVISION

---------------------------------------------------------------------------------------X

JOSEPH E. SARACHEK,

                                   Plaintiff,

                 -against-                                                                 COMPLAINT

GEOFFREY S. AARONSON, AARONSON SCHANTZ BEILEY,                                             Case No.:__________
KYLE BAISLEY, LONG, RAGSDALE & WATERS, P.C.,
DONALD STEC



                                   Defendants,

-------------------------------------------------------------------------------------X

Plaintiff, JOSEPH E. SARACHEK (hereinafter “Plaintiff”), by and through his attorneys, The

Sarachek Law Firm LLC, complaining of the Defendants (hereinafter “Defendants”), sets forth

and alleges as follows:


                                     PRELIMINARY STATEMENT


    1. This action arises from the immensely damaging and defamatory statements made by

        Defendants against Plaintiff through blatantly false electronic statements (emails) as well

        as verbal communications to various creditors who are among the top twenty unsecured

        creditors of 1 Global Capital, LLC, a Hallandale, Florida based merchant cash advance

        business that sought chapter 11 protection on July 27, 2018 in the United States

        Bankruptcy Court for the Southern District of Florida (Case No. 18-19121), as well as to

        the Office of the United States Trustee, the SEC and various other parties. By making
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   these statements, Defendants willfully and negligently intended to cause harm to Plaintiff

   financially and professionally.

2. Plaintiff is an internationally recognized restructuring professional with over 30 years of

   experience in bankruptcy law. Plaintiff has served in just about every role in commercial

   bankruptcy cases, including debtor’s counsel, creditors’ counsel, bankruptcy trustee,

   investor, board member, chief restructuring officer and creditor. In addition to practicing

   law and investing, he currently teaches a course in bankruptcy investing and

   restructurings at The Leonard Stern School of New York University in New York, New

   York.

3. Plaintiff represents over 260 creditors in a group of highly contentious bankruptcy cases

   known as Woodbridge Group currently pending in the United States Bankruptcy Court

   for the District of Delaware (Case No. 17-12560). From the outset, the Woodbridge

   Group cases have been contentious because Plaintiff has opposed the legal position taken

   by the Debtors, the Official Creditors’ Committee (“OCC”), Noteholders Committee, and

   Unitholders Committee; that Plaintiff’s clients are unsecured noteholders. Plaintiff’s

   positions are in part based on a California consumer mortgage lending statute that

   protects individual lenders. Plaintiff has sought to prove that his clients hold secured,

   perfected interests in various properties located in California and elsewhere while the

   other professionals in the case maintain they are unsecured.

4. Early on, counsel to the Woodbridge OCC, as well as counsel to the Noteholders and

   Unitholders, attempted to preclude Plaintiff from representing his clients’ position

   through personal attacks. Although Plaintiff did absolutely nothing in violation of the

   Bankruptcy Code and Rules, in order to advance his clients’ interests, Plaintiff agreed to




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     abide by the terms of a stipulation to resolve his pro hac vice in the Delaware Bankruptcy

     Court. A copy of the Bankruptcy Judge Carey’s order, as well as the stipulation, is

     attached hereto as Exhibit 1.

5. Subsequent to entry of Judge Carey’s order, Plaintiff has been proceeding with litigation

     in Woodbridge and routinely appearing before Judge Carey without any further issues

     being raised as to Plaintiff’s conduct or competency.

6.   More recently, as a result of Plaintiff’s diligent and zealous representation of clients in

     Woodbridge, he was contacted by his existing clients to represent them in the 1GC case,

     and possibly to seek to represent the official creditors committee.

7. Defendants are bankruptcy attorneys and firms who are seeking to represent the official

     creditors’ committee and apparently will do anything, including commit liable and

     slander against Plaintiff, to improve their chances of representing creditors. Defendant

     Donald Stec is a client of the bankruptcy attorneys and firms involved and knowingly

     distributed misleading and damaging information under his name to other creditors and

     parties in interest.

8. Plaintiff seeks an award of compensatory and punitive damages in excess of $10,000,000

     jointly and severally from Defendants for the harm caused to his personal and

     professional reputation, current business interests, and the impairment of business

     opportunities that resulted from the blatantly false and defamatory statements and

     implications about him published, distributed and spoken by Defendants.




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                                 JURISDICTION AND VENUE


9. This Court has jurisdiction, pursuant to 28 U.S.C. § 1332(a)(1) over all claims alleged

   herein as the matter in controversy in the cause of action asserted herein is between

   citizens of different States and exceeds $75,000 in damages.

10. Venue properly lies in this Court because it is a judicial district within a state that all

   Defendants have done business in and it is a judicial district in which the events and

   omissions give rise to the claims alleged herein occurred.


                                             PARTIES


11. Plaintiff Joseph E. Sarachek is an attorney and resident of Scarsdale, New York.

12. Defendant Geoffrey S. Aaronson is a bankruptcy attorney based in Miami, Florida who

   was paid $50,000 by Trae Wienewitz, a Knoxville, Tennessee insurance broker to

   represent Mr. Wienewitz’ interests in the 1GC bankruptcy case. Mr. Aaronson is a

   principal of Defendant Aaronson Schantz Beiley, a law firm located in Miami, Florida.

13. Defendant Kyle Baisley is an attorney based in Knoxville, Tennessee, and represents a

   creditor of 1 GC, Donald Stec. Upon information and belief, Mr. Baisley is a partner in

   Defendant Long, Ragsdale & Waters, a law firm based in Knoxville, Tennessee.

14. Defendant Aaronson, individually, and as a principal of his law firm knowingly

   transmitted false and damaging statements about Plaintiff in order to deny him the

   opportunity to represent the Unsecured Creditors Committee of 1 GC. In that respect,

   Defendants not only caused injuries to Plaintiff but Plaintiff’s clients as well.

15. Defendant Baisley, individually, and as a principal of his law firm knowingly transmitted

   false and damaging statements about Plaintiff in order to deny him the opportunity to


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   represent the Unsecured Creditors Committee of 1 GC. In that respect, Defendants not

   only caused injuries to Plaintiff but Plaintiff’s clients as well.

16. Defendant Donald Stec is a resident of Knoxville, Tennessee and one of the twenty

   largest creditors of 1 GC.

                                  FACTUAL ALLEGATIONS


17. Defendant Aaronson was engaged by Trae Wieniewitz (“Wieniewitz”), a principal of

   Wieniewitz Financial LLC, located at 1606 Schaeffer Rd., Knoxville, Tennessee 37932.

   On July 30, 2018, Wieniewitz learned that 1 GC had filed for bankruptcy protection and

   that a hearing was taking place in the United States Bankruptcy Court for the Southern

   District of Florida on August 2, 2018. Wieniewitz found Defendant Aaronson on the

   internet and wired him $50,000 as requested by Defendant Aaronson to represent

   Wieniewitz and his clients.

18. Defendant Donald Stec is a client of Wieniewitz and was introduced to Defendant

   Aaronson by Wieniewitz.

19. Defendant Aaronson promptly filed a Notice of Appearance on behalf of Wieniewitz on

   August 2, 2018. A copy of the Notice of Appearance is attached hereto as Exhibit 2.

20. Plaintiff Sarachek received an email on August 1, 2018 from one of his clients in the

   Woodbridge Group bankruptcy cases that 1 GC had filed bankruptcy. Subsequently,

   Sarachek received numerous phone calls from existing clients seeking further information

   about the status of their investments in 1 GC.

21. On August 6, 2018, after reviewing documents filed in the bankruptcy case of 1GC,

   Plaintiff contacted James Cassel, an attorney and experienced distressed investment

   advisor who is the sole Board member of 1GC in an effort to obtain further information



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   about the bankruptcy case for his clients. A copy of Sarachek’s email to Mr. Cassel is

   annexed hereto as Exhibit 3.

22. Later that same afternoon, on August 6, 2018, Sarachek introduced Mr. Cassel by email

   to Dean Landis, a sophisticated financier who invests in merchant cash advance

   businesses. Landis offered to consider providing a debtor in possession loan to 1GC. A

   copy of Plaintiff’s email is attached hereto as Exhibit 4.

23. On August 7, 2018, Sarachek prepared and distributed a status memo to approximately

   10 existing clients. A copy of that memo is attached hereto as Exhibit 5.

24. On August 8, 2018, Sarachek prepared a new engagement letter to represent clients in the

   1 GC bankruptcy in which he proposed to charge his clients a contingency of 3% to be

   paid from any recovery. The engagement letter contained a clause which indicated it

   would terminate in the event Sarachek were chosen as counsel for the Creditors’

   Committee. A copy of that engagement letter is attached hereto as Exhibit 6.

25. Within days of being engaged by his existing clients, Sarachek was contacted by various

   other creditors who were among those creditors that comprised the 20 largest unsecured

   creditors of 1 GC and had obtained signed engagement letters from these clients. A copy

   of the list of 20 largest creditors is annexed hereto as Exhibit 7.

26. On August 9, 2018, Defendant Aaronson sent an email which stated “Potential Members

   of the Unsecured Creditors Committee in 1 Global Capital and 1 West Capital LLC the

   purpose of this letter is merely to introduce myself as a candidate for counsel to the

   Unsecured Creditors Committee in 1 Global Capital LLC and 1 West Capital LLC.”

   Although “introductory” the email attached proposed Bylaws for the Committee, a letter

   to the US Trustee, and the list of 20 largest creditors. In the email, Defendant Aaronson




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   states “I have met with and had discussions with Debtors’ counsel and the new

   management. Most of these people are friends and colleagues for many years. They are

   very sophisticated and absolutely credible.” A copy of Mr. Aaronson’s letter is attached

   as Exhibit 8.

27. In an effort to rapidly bring order to the bankruptcy process and advance his clients’

   interests which was to recover as much money as possible in the bankruptcy case, on

   August 10, 2018, Plaintiff Sarachek and a majority of the 20 largest unsecured creditors

   met telephonically and selected The Sarachek Law Firm and Stichter Reidel Blaine and

   Postler, a Tampa, Florida firm, as counsel to an Unofficial Creditors Committee.

   Plaintiff’s intent was not to supersede the U.S. Trustee’s task of selecting an Official

   Creditors Committee, it was simply to hasten communications between the largest

   creditors and the Debtor.

28. By email, dated August 10, 2018, Sarachek communicated to Mr. Cassel, the Unofficial

   Creditors’ Committee’s desire to meet promptly. A copy of Plaintiff’s email is annexed

   hereto as Exhibit 9.

29. On August 12, 2018, Paul J. Keenan Jr., an attorney from Greenberg Traurig representing

   1 GC responded to Plaintiff by asserting that Plaintiff had somehow tried to circumvent

   the Florida Rules of Professional Conduct by contacting Mr. Cassel rather than Debtor’s

   counsel. However, in Mr. Cassel’s declaration filed with the Bankruptcy Court he clearly

   states that he is an attorney experienced in bankruptcy matters. See attached Exhibit 10.

30. It is common practice for bankruptcy professionals to confer with one another in

   bankruptcy matters. Plaintiff in no way was trying to circumvent rules of professional

   ethics.




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   31. Plaintiff was troubled by Keenan’s letter and viewed it as a delay tactic which is common

       in bankruptcy cases. Furthermore, based on Defendant Aaronson’s timesheets produced

       to Wieniewitz, it is clear that he had extensive conversations with Greenberg Traurig and

       its professionals.

   32. Further complicating matters is the fact that the Chief Restructuring Officer of 1 GC is

       Bradley Sharp of Development Specialists Inc. Mr. Sharp is also the Chief Restructuring

       Officer of Woodbridge Group. Plaintiff was concerned that Mr. Sharp’s connection to

       the Woodbridge case, and opposition to Plaintiff’s legal position in the Woodbridge case

       would somehow impact the interests of his clients in 1GC.

   33. After conferring with the Unofficial Creditors Committee and evaluating the options of

       creditors, Plaintiff prepared a Motion For the Appointment of a Trustee. The motion was

       never filed. A copy of the Motion is annexed hereto as Exhibit 11.

   34. Meanwhile, after Wieniewitz emailed Defendant Aaronson that his clients intended to

       hire The Sarachek Law Firm, on August 14, 2018 at 5:50 PM EDT, Defendant Aaronson

       said an email to Wieniewitz:



               I understand your anxiety but you should also understand who you are getting into
               bed with, with Sarachek. He has already established quite a reputation in the
               Woodbridge case. There is no Creditors Committee in this case yet. The US
               Trustee office says that they are going to form a Committee tomorrow or the day
               after. The Committee then needs to get organized and elect counsel. Sarachek is
               not from South Florida, as far as I know he no longer practices law full time, and
               he is a Claims trader. Be careful. This situation is bad enough. You don't need to
               potentially make it worse.


A copy of Defendant’s email is annexed hereto as Exhibit 12.




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35. On August 20, 2019 at 2:09 pm, Defendant Aaronson was asked by Wieniewitz to return

   the balance of the unused retainer. In response to this request on August 21, 2018 at

   6:07:57 PM AST Defendant Aaronson said in an email to Wieniewitz that was

   subsequently circulated to numerous top 20 creditors group of the largest creditors in 1

   Global referring to Sarachek “nobody in Delaware has anything good to say about him.”

   Furthermore, Defendant Aaronson also attached as an exhibit the Certification of Counsel

   requesting Entry of Order Approving Stipulation Resolving Pro Hac vice Admission of

   Joseph E. Sarachek in the Woodbridge Group cases. (Docket 1659). Defendant

   Aaronson specifically highlighted in yellow ink certain language in the Woodbridge

   Group cases to imply that Plaintiff Sarachek violated certain Bankruptcy Rules. As an

   experienced bankruptcy practitioner Defendant Aaronson knew that the Woodbridge

   Bankruptcy Judge did not find that Plaintiff Sarachek did anything improper. However,

   Defendant Aaronson intended to mislead his client Wienewitz and others in order to

   inflict harm on Plaintiff’s reputation. A copy of Defendant’s email is attached hereto as

   Exhibit 13.

36. Shortly after Defendant Aaronson’s email was circulated, on August 22, 2018, Defendant

   Stec sent an email to various parties, including Top 20 Unsecured Creditors of First

   Global Capital. The relevant part of the email states “


          Please be advised that we have obtained information leading to a conclusion that
          Mr. Joseph Sarachek may not be the best individual to consider as the attorney to
          represent the unsecured creditors committee. I know that you may have already
          signed an engagement letter of sorts with Mr. Sarachek, but it is not too late to
          change your mind as the attorney to be selected for the official Unsecured
          Creditors Committee has not been finalized. There is no such thing as an
          ”unofficial creditors committee,“ despite what Mr. Sarachek has stated in past
          emails. My independent research indicates that Mr. Sarachek is primarily a
          “Claims Trader” and I do NOT believe that he has our interests in



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           mind. See https://www.triaxcap.com/who-we-are I sincerely believe that his
           efforts to represent any of us and/or the Unsecured Creditors Committee is simply
           an “in” for him to have more access to information that will benefit him in
           brokering each of our claims.

   Defendant Stec states that he did independent research. However, at no time, despite

   being offered numerous references of Plaintiff did he ever call any one of Plaintiff’s

   references. Defendant Stec’s conduct is willful, reckless and negligent with an intent to

   cause harm to Plaintiff. Shortly after receiving this email, several of Plaintiff’s clients

   terminated their representation with him. A copy of Mr. Stec’s email is attached hereto

   as Exhibit 14.


37. In response to Defendant’s Stec’s email, Plaintiff sent an email to Defendants Stec and

   Baisley urging them to keep an open mind and to check his references. Plaintiff

   particularly urged them to contact Jan Castenada, one of Plaintiff’s Woodbridge who is

   an attorney and completely aware of the validity of Plaintiff’s legal position. See

   Plaintiff’s email attached hereto as Exhibit 15. Neither Defendant Stec nor Defendant

   Baisley contacted Ms. Castenada. Surely, if Plaintiff’s conduct was improper or he was

   acting primarily as a “claims trader” Ms. Castenada would be aware of these activities.

38. As a result of the extremely damaging conduct of Defendant Aaronson who was speaking

   with Defendants Stec and Baisley, on August 23, 2018, Plaintiff’s law firm sent

   Defendant Aaronson a cease and desist letter. Defendant Aaronson never responded to

   the letter and continued on with his course of conduct. A copy of that letter is attached

   hereto as Exhibit 16.




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39. On August 23, 2018, Plaintiff’s law firm also sent 1GC’s lead bankruptcy attorney, Paul

   Keenan of Greenberg Traurig, a cease and desist letter. A copy of that letter is attached

   hereto as Exhibit 17.

40. On September 10, 2018, Defendant Baisley sent an email to Mr. Stec, copying

   Defendant Aaronson, and Demaris Rosich-Schwartz, the Assistant United States Trustee

   assigned to 1 GC, further disparaging Plaintiff Sarachek.


   Don: Per our earlier conversation, the relevant email correspondence is pasted below and
   attached. After Sarachek sent the email pasted below holding out Blain’s firm as his co-counsel,
   per John Dodd with Greenberg Traurig (Debtor’s counsel), Sarachek contacted Cassel directly,
   knowing he/1GC was represented by Greenberg (major legal ethics violation) with his “claims
   trader” hat on in an event to circumvent this ethical requirement. After being called out by
   Greenberg for the ethical violation, Sarachek called a conference call with Cassel (with his
   counsel on the line this time) with Russ Blain on the phone once again holding him out as his co-
   counsel. But for this, I would have thought that maybe Sarachek just misappropriated Blain’s firm
   to boost his credibility. It looks like it was with Blain’s full cooperation.

   The attached email shows Trae Wieniewitz (arguably the worst 1GC sales agent at issue, being
   compensated at least close to $1MM for selling these securities) bringing in Sarachek by sending a
   patently false email about an outright buyer on deck and a court hearing that was never even
   contemplated on the docket. Many folks responded to that email by signing engagement letters
   with Sarachek, many of which are on the Committee. As you will see, Wieniewitz is BLIND
   COPIED on Sarachek’s to all of these creditors that seem to trust him so much. Why would you
   blind copy one of the worst on the 1GC side? Was Ruderman copied? How can this guy be
   trusted?

   Then at the 341 hearing, Blain and Sarachek sat together (for the second half of the meeting, after
   Sarachek moved over to sit between Blackstone and Blain).

   I cannot advise that you go forward with voting this group in charge of the fate of the UCC given
   the Wieniewitz-Sarachek-Blain/Stichter Reidel connection, whether the UCC hires
   Aaronson/myself or not. I sincerely believe that Sarachek is looking for inside information on the
   claims so that he can trade them and line his pocket, all at the unsecured creditors’ expenses,
   which is unlawful and could result in much more than breach of fiduciary duty for anyone
   involved.

   Copying Damaris to officially put her office on notice of what is going on. I suspect that at least
   three objections would result given the Sarachek connection (from the US Trustee’s Office, the
   SEC and the debtor), not including the objection that I recommend you make as well, and their
   application would most likely be denied as a result. Either way, even the objections alone would
   look terrible for the UCC and the unsecured creditors’ faith in them, let alone the court’s denial of
   the application as a result of the objections.

   Simply put, Stichter Riedel’s connection to Sarachek is absolutely debilitating to their ability to
   proceed as the Committee’s counsel.




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   See email attached hereto as Exhibit 18.

41. Subsequently, on September 10, 2018, Defendant Aaronson alleged Plaintiff is “claims

   trading” in the 1GC case. A copy of Defendant’s email is attached at Exhibit 19. The

   accusation by Defendant Aaronson, an AV Preeminent Peer Review Rated Lawyer with

   approximately 30 years of bankruptcy reorganization/restructuring and civil litigation

   experience is made with willful intent to damage Plaintiff and cause harm. In addition to

   Defendants Aaronson and Baisley’s conduct violating the Professional Rules of Ethics

   that govern attorney, their conduct violates the rules of the Bar Associations of Florida

   and Tennessee.

42. As a result of Defendants’ conduct, Plaintiff was denied an interview by the Official

   Committee of Unsecured Creditors which was appointed on September 7, 2018.

   Furthermore, upon information and belief, Defendants’ conduct has caused significant

   delay by the Office of the United States Trustee in appointing an Official Creditors

   Committee. Accordingly, Defendants conduct has not only damaged Plaintiff interests

   but more importantly the interests of Plaintiff’s clients.




                                 CAUSES OF ACTION

            Intentional Tort – Defamation Per Se (As against all Defendants)



43. Plaintiff repeats, reiterates, and re-alleges each and every allegation above as though set

   forth herein.




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44. In order to state a cause of action for defamation, a plaintiff must allege the making of a

   false statement which was published to a third party and resulting damages.

45. Further, a cause of action for defamation per se is stated when the false statements utterly

   injure a plaintiff in his trade, business, or profession or accuse him of committing a

   serious crime.

46. Through their direct and intentional communications to third parties such as clients,

   Securities and Exchange Commission, the Office of the United States Trustee, and others,

   Defendants generated false and defamatory statements concerning Plaintiff.

47. Namely, Defendants published statements accusing Plaintiff of violating his duties to

   clients, breaching the rules of professional ethics, and manipulating the bankruptcy

   system in violation of the Bankruptcy Code and Rules.




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                                     PRAYER FOR RELIEF


        WHEREFORE, upon all of the facts and circumstances herein alleged, Plaintiff

respectfully requests that this Court:

   1. Grant judgment against Defendants on each and every cause of action alleged

       herein, jointly and severally;

   2. Grant an order awarding Plaintiff damages in an amount not less than $10,000,000 to be
      determined at trial, together with interest and the costs and disbursements of this action,
      plus reasonable attorneys’ fees, punitive damages, as well as any other damages
      permitted to be recovered by law pursuant to the above causes of action;



   3. Grant any such further relief as the Court deems just, proper, and equitable.


Dated: Scarsdale, New York
       September 14, 2018



                                             THE SARACHEK LAW FIRM

                                             By:/s/ Joseph E. Sarachek

                                             Joseph E. Sarachek (JS 1788)
                                             101 Park Avenue, Suite 2700
                                             New York, New York. 10178
                                             212 808-7881




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                                      UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA
                                         FORT LAUDERDALE DIVISION

     In Re:                                                               Chapter 11

     1 GLOBAL CAPITAL LLC,                                                Case No.: 18-19121-RBR

                Debtor.

     In Re:                                                               Chapter 11

     1 WEST CAPITAL LLC,                                                  Case No.: 18-19122-RBR

                Debtor.


                        NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

              Undersigned counsel hereby files his appearance as counsel on behalf of Wieniewitz

   Financial LLC, and, in accordance with Fed. R. Bankr. P. 2002, requests that all parties and

   interested parties serve copies of any and all motions, pleadings, reports, and/or documents of any

   kind or nature filed in these proceedings, upon the undersigned.

              In addition, it is respectfully requested that pursuant to Fed. R. Bankr. P. 2002(g), the

   following should be added to the Court’s Mailing Matrix:

                                                   Geoffrey S. Aaronson, Esq.
                                                     Florida Bar No. 349623
                                                  Aaronson Schantz Beiley P.A.
                                                      One Biscayne Tower
                                                2 South Biscayne Blvd., 34th Floor
                                                      Miami, Florida 33131
                                                        Tel. 786.594.3000
                                                        Fax 305.424.9336
                                                    gaaronson@aspalaw.com




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                                                                                        Respectfully submitted,
                                                                                        Aaronson Schantz Beiley P.A

                                                                                        s/Geoffrey S Aaronson
                                                                                        Geoffrey S Aaronson, Esq.
                                                                                        Aaronson Schantz Beiley P.A.
                                                                                        One Biscayne Tower
                                                                                        2 South Biscayne Blvd., 34th Floor
                                                                                        Miami, Florida 33131
                                                                                        Tel. 786.594.3000
                                                                                        Fax 305.424.9336
                                                                                        gaaronson@aspalaw.com


                                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was furnished via e-mail
   through the Court’s CM/ECF service on August 1, 2018.


                                                                                        s/Geoffrey S Aaronson
                                                                                        Geoffrey S Aaronson




                                                                        2

Aaronson Schantz Beiley P.A. | One Biscayne Tower, Floor 34 | 2 S. Biscayne Blvd. | Miami, Florida 33131 | 786.594.3000 | Fax 305.424.9336
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                Exhibit 6
       Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 39 of 100




                                        The Sarachek Law Firm
                                      101 Park Avenue, 27th Floor
                                         New York, NY 10178
                                       Telephone: (212) 808-7881

                                                                   August 9, 2018

Dear                 ,

This letter states our understanding with respect to our legal representation of                      and any
of their related entities (“You” or “Your”) in connection with claims (“Claims”) arising from your direct
or indirect investment(s) into the 1 Global Capital LLC or 1 West Capital LLC or its affiliates
(collectively, “1GC”), and more generally, through any partnerships, funds, banks, investment advisers,
pension plans, retirement savings plans, through such entities’ or institutions’ affiliates, subsidiaries,
and/or related entities.

If acceptable, please indicate Your agreement to these terms by signing below and in the space provided:


    1. Nature of Services, You hereby engage Joseph E. Sarachek, Esq. and his affiliate firm currently
       or prospectively serving the 1GC Investors (“Supporting Law Firm,” collectively “We,” “Us” and
       in the adjective “Our”), on a contingent fee and expense basis, to represent You in connection
       with Your Claims for recovery of losses in the bankruptcy cases, receiverships, liquidation by
       Trustee, or other legal proceedings commenced or not yet commenced that result in court ordered
       judgements and/or settlements of any kind from actions undertaken on Your behalf by Joseph E.
       Sarachek, Esq. (“Recovery”).

    2. Fees and Expenses, Except as provided in this section (section 2), We will not be entitled any
       fees or expense and cost reimbursements in connection with this agreement.

        A.) We shall advance all expenses including but not limited to any expenses related to
            depositions or any other legal proceedings. You are liable to pay at such time as you receive
            Recovery as per the following scale:

                a. 3% of the Recovery.

        To the extent, we are selected as official counsel to the Committee of Unsecured Creditors, we
        will be able to be reimbursed directly from the bankruptcy estate. In that case, your obligation to
        pay us shall be terminated. We may be able to obtain reimbursement of costs and other expenses
        in addition to our contingency fees as part of any settlement or judgment and will use our best
        efforts to do so.

        B.) The sole contingent fee upon which We shall be compensated from the Recovery shall be in
            the amount based on your recovery awarded by a final order of a court of competent
     Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 40 of 100




         jurisdiction, in Federal or state court or otherwise allowed without such order, or in
         connection with assignment of such Claim. In that regard, you agree to assign any Recovery
         to us, and we will remit the balance to you after deduction of our fees and expenses. A
         calculation of the fees and expenses will be provided to you in advance, and we will seek
         your express consent to the amount. In no event, will we seek compensation in excess of the
         contingency fee amounts indicated above plus reasonable expenses. “Reasonable Expenses”
         shall include but not be limited to costs of travel, telephone, copying, fax transmission,
         depositions, investigators, messengers, mediation expenses, computer research fees, court
         fees, expert fees, other consultation fees and paralegal expenses which shall not exceed 1% of
         the face amount of your claim and shall be shared whenever possible pro rata among clients.
3.   Confidentiality, We shall treat all communication with, and information provided by You, as
     confidential. We shall not disclose our representation of You hereunder except to the Bankruptcy
     Court or other investors with potential claims whom We represent or intend to represent or until
     such time as litigation or claim is commenced on Your behalf.
4.   Other Clients, You acknowledge that we Represent, and may be retained by, other investors in
     the1GC case(s) and that We intend to jointly litigate the claims of such other clients together with
     Your claims. You agree that any conflicts caused by such representation are waived.
5.   General Requirements, You agree to cooperate in the prosecution of the Claims, including
     providing documents relating to Your Claims and attending any deposition and/or other legal
     proceedings, if necessary, and understand that Your Claim shall be treated as an individual
     matter, but any litigation commenced may be as a group action on behalf of all of our clients who
     are similarly situated and that thereunder you may have a fiduciary duty to putative Class.
6.   Attorney-Client Relationship, This letter agreement establishes an attorney-client relationship
     between You and Us, Joseph E. Sarachek, Esq. and any affiliate(s) as Your legal representatives.
7.   Choice of Law; Disputes to be Mediated, This agreement shall be governed by and interpreted
     in accordance with the laws of the State of New York without regard to its conflicts of laws
     doctrine. Any disputes will be settled through expedited mediation or arbitration which shall be
     held in New York, New York.
8.   Electronic Signatures Acceptable, This Agreement may be executed in the counterparts, each of
     which shall be deemed an original but all of which when taken together shall constitute one and
     the same instrument. The Agreement may be delivered by executed facsimile, PDF, or electronic
     transmission, which shall be deemed an original.
       Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 41 of 100




We thank you for the opportunity to represent You in this matter and look forward to the prospect of a
prompt and favorable resolution.

                                                         Respectfully,




                                                         Joseph E. Sarachek

Accepted by signature, scanned and emailed to:
joe@saracheklawfirm.com or (646) 861-4950



By: _______________________________ Date: ______________, 2018
         Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 42 of 100




Section 1210.1 of the Joint Rules of the Appellate Division (22 NYCRR § 1210.1) Statement of
Client’s Rights
Your attorney is providing you with this document to inform you of what you, as a client, are entitled to by law or by custom. To
help prevent any misunderstanding between you and your attorney, please read this document carefully.
If you ever have any questions about these rights, or about the way your case is being handled, do not hesitate to ask your
attorney. He or she should be readily available to represent your best interests and keep you informed about your case.
An attorney may not refuse to represent you on the basis of race, creed, color, sex, national origin or disability.
You are entitled to an attorney who will be capable of handling your case; show you courtesy and consideration at all times;
represent you zealously; and preserve your confidences and secrets that are revealed in the course of the relationship.
You are entitled to a written retainer agreement that must set forth, in plain language, the nature of the relationship and the details
of the fee arrangement. At your request (and before you sign the agreement) you are entitled to have your attorney clarify in
writing any of its terms or include additional provisions.
You are entitled to fully understand the proposed rates and retainer fee before you sign a retainer agreement, as in any other
contract.
You may refuse to enter into any fee arrangement that you find unsatisfactory.
Your attorney may not request a retainer fee that is non-refundable. That is, should you discharge your attorney, or should your
attorney withdraw from the case, before the retainer is used up, he or she is entitled to be paid for the time spent on your case and
any expenses, but must return the balance of the retainer to you.
You are entitled to know the approximate number of attorneys and other legal staff members who will be working on your case at
any given time and what you will be charged for the services of each. You are entitled to know in advance how you will be asked
to pay legal fees and expenses and how the retainer, if any, will be spent.
At your request, and after your attorney has had a reasonable opportunity to investigate your case, you are entitled to be given an
estimate of the approximate future costs of your case.
You are entitled to receive a written itemized bill on a regular basis, at least every 60 days.
You are expected to review the itemized bills sent by counsel and to waive any objections or errors in a timely manner. Time
spent in discussion or explanation of bills will not be charged to you.
You are expected to be truthful in all discussions with your attorney and to provide all relevant information and documentation to
enable him or her to competently prepare your case.
You are entitled to be kept informed of the status of your case and to be provided with copies of documents prepared in your
behalf or received from the court or your adversary.
You have the right to be present at court conferences unless a judge orders otherwise.
You are entitled to make the ultimate decision of the objectives to be pursued in your case and to make the final decision
regarding the settlement of your case.
Your attorney’s written retainer agreement must specify under what circumstances he or she may seek to withdraw as your
attorney for non-payment of legal fees. Should your attorney seek to do so, or should you discharge your attorney for any reason,
you have the right to obtain the release of your file. If an action is pending, the court may give your attorney a "charging lien,"
which entitles your attorney to payment for services already rendered out of the proceeds of your judgment. If no action is
pending, and your withdrawing attorney retains possession of the file, the attorney must return it within 30 days of withdrawal,
but may then commence proceedings against you to recover any unpaid fee.
You are under no legal obligation to sign a confession of judgment or promissory note or to agree to a lien or to a mortgage on
your home to cover legal fees. Your attorney's written retainer agreement must specify if, and under what circumstances, such
security may be requested. In no event may such security interest be obtained by your attorney without prior court approval and
notice to your adversary. An attorney security interest in the marital residence cannot be foreclosed against you.
You are entitled to have your attorney’s best efforts exerted on your behalf, but no particular results can be guaranteed.
If at any time you believe that your attorney has engaged in unethical conduct, you can report the matter to the Clerk of the
Appellate Division of the Supreme Court which oversees lawyer discipline.
In the event of a fee dispute, you have the right to seek arbitration, the results of which are binding.
Your attorney will provide you with the necessary information regarding arbitration in event of a fee dispute, or upon your
request.
RECEIPT OF STATEMENT OF CLIENT’S RIGHTS

ACKNOWLEDGED: Dated: __________
Name: ______________________
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 43 of 100




                Exhibit 7
                                      Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 44 of 100
                                            Case 18-19121-RBR Doc 2 Filed 07/27/18 Page 1 of 3


          Fill in this information to identify the case:

           Debtor name 1 Gloh,âl Caôilâl Ll C

           Un¡ted States Bankruptcy Court for the Southern D¡str¡ct of Flor¡da
           Case number (lf known):                                                                                                                                f]   Check if this is an
                                                                                                                                                                       amended filing




        Official Form 204
        Ghapter 11 or Ghapter 9 Gases: List of Greditors Who Have the 2O Largest
        Unsecured Glaims and Are Not lnsidersl                                                                                                                                               'l211l


        A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. lnclude claims which the debtor disputes. Do
        not include claims by any person or entity who is an rnsrder, as defined in 1 1 U.S.C. S 1 01 (31). Also, do not include claims by secured creditors, unless
        the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


         Name of creditor and complete                              Name, telêphone number, and      Nature of the   claim lndicate    if   Amount of unsecured claim
         maillng address, lncluding zlp code                        emall address of creditor        (for example, trade claim    ls   lf the claim is fully unsecured, fill in only unsecured
                                                                    contact                          debts, bank loans, contlngênt,_ cla¡m amount. f ólaim is partially securêd, fill ¡n
                                                                                                     professional        unliquidated, total claim amount and deduction for value of
                                                                                                           and
                                                                                                     services,           or disputed collateral or setoff to calculate unsecured claim.
                                                                                                     government
                                                                                                     contracts)
                                                                                                                                                     lf
                                                                                                                                            Total cla¡m,     Deductlon   for    Unsecured
                                                                                                                                            partlally        value of           clalm
                                                                                                                                            secured          collateral or
                                                                                                                                                             setoff
trl                                                                                                                                                                             $1,754,902.75

i


:
¡
l
t2                                                              .Iames    A. Lochtefeld                                                                                         $   1,484,687.50
i
         8s2l E 700 s                                           j   alochtefel   dl@   gmail. conr
         Union City, IN 47390


          Russell Rasner and Kimberly Ann                       Russell Rasner and Kimberly Ann                                                                                 $ 1,065,240.08
    3
          Rasner Joint Living Trust dtd I 0-3   -   1   7       Rasner
          13241 Wood Duck Dr.                                   630-567-6652
          Plainfield,   IL   60585                              uas¡clúDsaæÂs!.rs!.



          Snow Flakes Ltd                                                                                                                                                           $962,6 10.35
    4
          20165 NE 39 Place
:         Aventura, FL 33180


          Geoffrey Lipman                                   !Geoffrey Lipman                                                                                                        s947,63s.44
,5        5 A¡thur Grumiaux                                 ìglipmanú)smail.com
:         1640 Rhode Saint Cenese                           ¡

          Brussels, Belgium
:                                                           ¡



          Frank Rimi IRA                                    iFrank Rimi                                                                                                             s921,608.47
    6
          355 Lake George Rd.                               I z¿e-gl¿-osg:
          Oakland, MI 48363                                 ; addison-oaks@yahoo.corn



          Steven Ross Shelton IRA                                   Steven Ross Shelton                                                                                             $861,951 .02
          ó425 Seaside Dr.                                          steve69048@yahoo.com
          Loveland, CO 80538


    B     Richard and Cynthia Davis                                 Richard and Cynthia Davis                                                                                       $859,917.20
          1008   Hwy K                                              636-978-3800
:
          O Fallon,     MO    63366                                 bernie.backtobasics@gmail.c
                                                                    om
                                     Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 45 of 100
                                           Case 18-19121-RBR Doc 2 Filed 07/27/18 Page 2 of 3
         Debtor         1 Global Caoital LLC                                                  Case number
                        Namå




19           Kara H. May IRA                          Kara H. May                                                                        $840,ss3.06
             120 Santee Way                           865-408-0698
             Loudon, TN 37774-2123                    coILespondence2-0 I 7@gqrail.
                                                      com

I0           Christopher Shealy IRA                   Christopher Shealy                                                                 $79s,077.26
             1017 Leah Dr.                            224-223-4294
             Cary,IL 60013                            chrisshealvômsn.com


t1           Stephen F. Sawa IRA                      Stephen F. Sawa                                                                    $789,718.90
             552 Canington Blvd.                      856.503-4699
             Lenoir City,   TN   37771                sfsawa@hotmail.com


     2       Estate of Lloyd Ralph Albers                                                                                                $787,743.25
             212 Long Bow Rd.                         865-607-6889
             Knoxville, TN 37934                      lealbers(âaol.com

         !
     ".,¡,
     3       Diversified Holdings LTD                                                                                                    $784,081.35
             17822 LTth Street, Suite 208             cæsiusholdin gs@ gmail. com
             Tustin, CA 92780


I4           Allen G. Meek IRA                        Allen G. Meek                                                                      $7s9,6t3.79
             PO Box 1291                              865-712-1429
             Seymour,   TN   37865                    allenemeekôemail.com


I5           Khosrow Sohraby IRA                      Khosrow Sohraby                                                                    $731,017,70
             13172 Connell Drive                      9 l3-8 15-l 147
             OverlandPark,KS 66213                    ksohrabv@yaho-o,com


     6       Donald Stec IRA                          Donald Stec                                                                        s728,t50.72
             2609 Oleander Way                        609-4 I 0-s606
             Knoxville, TN 37931                      donald.stectâli bertvnrutual,co
                                                      m

     7       Charles Carpenter and Patricia           Charles Carpenter and                                                              $682,s63.44
             Carpenter                                Patricia Carpenter
             299 Cardinal Street                      865-977-8201
             Maryvillo, TN 37803                      carpen@chartertn.net

1    I       Lilia A. Bautista IRA                    Lilia A. Bautista                                                                  $677,tr7 .20
             604 Crestwicke Ln                        865.679-1053
             Knoxville, TN 37934                      lilbautista@aol.com


I9           Charles Carpenter IRA                    Charles Carpenter                                                                  $641,169.07
             299 Cardinal Street                      865-977.8201
             Maryville, TN 37803                      charlev. camenterØarcon   ic,   co
                                                      !¡1


             Edward c. smith IRA 749199               Edward C. Smith                                                                    $621,409.00
             3137 Hollingworth                        909-595-8678
             West Covina, CA      91792 \             hvhone2000@aol.corn.
                                                      admin@aaishares,com,
                                                      admrn@davrdortÞadyisot¡o

 I This List of Creditors Who Have the 20 Largest Unsecured Claims was prepared on a consolidated basis among all of the Debtors
 identified on Schedule L




                                                                                                                                          pegô 2
         Off¡cial Form 204                  Chapter I 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims
                                 Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 46 of 100
                                       Case 18-19121-RBR Doc 2 Filed 07/27/18 Page 3 of 3

 Fill in this information to identify the case and this filing:


 Debtor Name        I   Global caoital

 United States Bankluptcy Court for the Southern District of Florida
 Case number       (/f knoMì):




Official Form 202
Declaration Under Penalty of Periury for Non-lndividual Debtors                                                                                              12t15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual's position or relationship to the debtor, the identity of          the   document, and the date. Bankruptcy Rules 1008 and
901 1.

WARNING      Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud
               -                                                                                                                                      in   connection w¡th a
bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S,C. SS 1 52, 1 341 , 1519, and 3571         .




              Declarat¡on and signature


         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;          or another individual
          serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         Ü         Schedute A/8r Assefs-Real and Personal Properfy (Official Form 2064/8)

         Ü         Schedule      D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         n         Schedule      HF:     Credítors Who Have Unsecured C/arms (Official Form 2068/F)


         A         Schedute G: Executory Contracts and lJnexpired Leases (Official Form 206G)


         Ü         Schedute H: Codebtors (Official Form 206H)

         t]        Summary of Assets and Liabil¡ties for Non-lndividuals (Afücial Form 206Sum)

         fl        Amended Schedule

         ø         Chapter 1 1 or Chapter 9 Casesr Llsf of Creditors Who Have the 20 Largest lJnsecured Claims and Are Not lnsiders (Official Form 204)

         E      Otner document that requires a declaration



         I   declare under penalty of perjury that the foregoing is true and


         Executed on             ù? ?^t             ,)ò t&
                                 MM/DD/YYYY                             S¡gnature of       signing on behalf of




                                                                         Steven A. Schwartz
                                                                        Printed name


                                                                        Authorized Si
                                                                               or


               Official Form 202                                   Declaration Under Penalty of Perjury for Nonlndividual Debtors
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 47 of 100




                Exhibit 8
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 48 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 49 of 100




                Exhibit 9
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 50 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 51 of 100




              Exhibit 10
  Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 52 of 100




Paul J. Keenan Jr.
Tel 305.579.0805
keenanp@gtlaw.com


August 12, 2018

VIA ELECTRONIC MAIL AND U.S. REGISTERED MAIL

Joseph E. Sarachek, Esq.
101 Park Avenue, 27th Floor
New York, New York 10178
joe@saracheklawfirm.com
                                                                                                  ALBANY

Re:     In re 1 Global Capital, LLC et al. (the “Debtors”); United States Bankruptcy Court        AMSTERDAM
                                                                                                  ATLANTA
        for the Southern District of Florida (the “Bankruptcy Court”); Case No. 18-19121-         AUSTIN
        RBR (the “Bankruptcy Case”)                                                               BERLIN¬
                                                                                                  BOCA RATON
                                                                                                  BOSTON
Mr. Sarachek:                                                                                     CHICAGO
                                                                                                  DALLAS
As you know, our firm represents the Debtors in their Bankruptcy Case and Mr. James               DELAWARE
                                                                                                  DENVER
Cassel is the independent manager of both Debtors.                                                FORT LAUDERDALE
                                                                                                  HOUSTON
Mr. Cassel has informed us that you contacted him directly by telephone on Monday,                LAS VEGAS
                                                                                                  LONDON*
August, 6, 2018, by electronic mail on Friday, August 10, 2018, and by voicemail and              LOS ANGELES
electronic mail on Sunday, August 12, 2018. Attached as composite Exhibit A are e-mails           MEXICO CITY+
from you to Mr. Cassel. On each occasion, the purpose of the contact was to discuss               MIAMI

matters concerning the Bankruptcy Case. You have never contacted me or anyone at our              MILAN**
                                                                                                  NEW JERSEY
law firm to gain permission to speak directly with Mr. Cassel without counsel present.            NEW YORK
                                                                                                  NORTHERN VIRGINIA

As you know, your repeated contact with Mr. Cassel violates Section 4-4.2(a) of the               ORANGE COUNTY
                                                                                                  ORLANDO
Florida Rules of Professional Conduct (the “Rules of Professional Conduct”), as adopted           PHILADELPHIA
from the Model Rules of Professional Conduct, which provides as follows:                          PHOENIX
                                                                                                  ROME**
                                                                                                  SACRAMENTO
        In representing a client, a lawyer must not communicate about the subject of the          SAN FRANCISCO
        representation with a person the lawyer knows to be represented by another lawyer         SEOUL∞

        in the matter, unless the lawyer has the consent of the other lawyer.                     SHANGHAI
                                                                                                  SILICON VALLEY
                                                                                                  TALLAHASSEE
You are directed not to contact Mr. Cassel and to comply with the Rules of Professional           TAMPA

Conduct. Our office will contract you on Monday to discuss the status of the Bankruptcy           TEL AVIV^
                                                                                                  TOKYO¤
Case.                                                                                             WARSAW~
                                                                                                  WASHINGTON, D.C.
Sincerely,                                                                                        WESTCHESTER COUNTY
                                                                                                  WEST PALM BEACH

/s/ Paul J. Keenan Jr.                                                                            ¬ OPERATES AS
                                                                                                     GREENBERG TRAURIG GERMANY, LLP
                                                                                                  * OPERATES AS
                                                                                                    GREENBERG TRAURIG MAHER LLP
                                                                                                  +    OPERATES AS
Paul J. Keenan Jr.                                                                                **
                                                                                                       GREENBERG TRAURIG, S.C.
                                                                                                       STRATEGIC ALLIANCE
                                                                                                  ∞    OPERATES AS
                                                                                                       GREENBERG TRAURIG LLP
                                                                                                       FOREIGN LEGAL CONSULTANT OFFICE
                                                                                                  ^ A BRANCH OF
                                                                                                    GREENBERG TRAURIG, P.A.,
                                                                                                    FLORIDA, USA
                                                                                                  ¤ OPERATES AS
                                                                                                    GT TOKYO HORITSU JIMUSHO
GREENBERG TRAURIG, LLP        ATTORNEYS AT LAW    WWW.GTLAW.COM                                   ~    OPERATES AS
MetLife Building, 200 Park Avenue  New York, New York 10166 Tel 212.801.9200   Fax 212.801.6400        GREENBERG TRAURIG GRZESIAK SP.
  Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 53 of 100




cc:   Harley E. Riedel, Esq.
      Stichter, Riedel, Blain & Postler, P.A.
      110 East Madison Street
      Suite 200
      Tampa, Florida 33602
      hriedel@srbp.com@srbp.com

      Russell M. Blain, Esq.
      Stichter, Riedel, Blain & Postler, P.A.
      110 East Madison Street
      Suite 200
      Tampa, Florida 33602
      rblain@srbp.com




                                    GREENBERG TRAURIG, LLP
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 54 of 100




                     COMPOSITE EXHIBIT A




                        GREENBERG TRAURIG, LLP
                 Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 55 of 100




Dodd, John R. (OfCnsl-Mia-Bky)

From:                                           James S. Cassel <jcassel@cs-ib.com>
Sent:                                           Sunday, August 12, 2018 6:15 PM
To:                                             Dodd, John R. (OfCnsl-Mia-Bky); Keenan Jr., Paul J. (Shld-Mia-Bky); Bradley Sharp
                                                (bsharp@dsi.biz)
Subject:                                        FW: 1 Global -Unofficial Creditors Committee




James S. Cassel
Chairman

Cassel Salpeter & Co., LLC
Experienced. Informed. Connected.

jcassel@cs-ib.com
www.casselsalpeter.com

801 Brickell Avenue
Suite 1900
Miami, FL 33131

D: 305-438-7701
C: 305-608-9576
F: 305-438-7710


Member FINRA | SIPC

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intended recipient, please contact the sender by reply email and destroy all copies of the original message and any attachments. Cassel Salpeter & Co., LLC reviews
and archives all e-mail. Such e-mail may be produced at the request of regulators and/or others.


From: Joseph Sarachek <joe@saracheklawfirm.com>
Sent: Friday, August 10, 2018 5:30 PM
To: James S. Cassel <jcassel@cs-ib.com>
Cc: rblain@srbp.com
Subject: 1 Global -Unofficial Creditors Committee

Jim, this morning, the majority of creditors in the top 20 unsecured creditors held a meeting and selected my firm and
Stichter Reidel as counsel to the Unofficial Creditors Committee (the "Committee"). The Committee has asked Russ
Blain and I to meet with you Monday at your earliest convenience as they are extremely concerned that the Company is
not collecting receivables and generating new business. I look forward to hearing from you. Best, Joe


--

Joseph E. Sarachek
212 365-8792

                                                                                    1
                 Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 56 of 100




Dodd, John R. (OfCnsl-Mia-Bky)

From:                                           James S. Cassel <jcassel@cs-ib.com>
Sent:                                           Sunday, August 12, 2018 6:15 PM
To:                                             Bradley Sharp (bsharp@dsi.biz); Dodd, John R. (OfCnsl-Mia-Bky); Keenan Jr., Paul J.
                                                (Shld-Mia-Bky)
Subject:                                        FW: 1 Global




James S. Cassel
Chairman

Cassel Salpeter & Co., LLC
Experienced. Informed. Connected.

jcassel@cs-ib.com
www.casselsalpeter.com

801 Brickell Avenue
Suite 1900
Miami, FL 33131

D: 305-438-7701
C: 305-608-9576
F: 305-438-7710


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intended recipient, please contact the sender by reply email and destroy all copies of the original message and any attachments. Cassel Salpeter & Co., LLC reviews
and archives all e-mail. Such e-mail may be produced at the request of regulators and/or others.


From: Joseph Sarachek <joe@saracheklawfirm.com>
Sent: Sunday, August 12, 2018 2:07 PM
To: James S. Cassel <jcassel@cs-ib.com>
Cc: Russell M. Blain <rblain@srbp.com>; Harley E. Riedel <hriedel@srbp.com>
Subject: 1 Global

Russ, I just left you a voicemail. Harley and I represent 17 of the top 20 creditors who formed a Committee and directed
us to meet with you tomorrow. I will be available in Ft. Lauderdale after 12, please confirm your availability. Thank you.
- Joe




                                                                                    1
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 57 of 100




              Exhibit 11
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                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION
                                            www. flsb.uscourts.gov
---------------------------------------------------------------x
In Re:                                                         )
                                                               ) Chapter 11
1 GLOBAL CAPITAL LLC,                                          )
                                                               ) Case No. 18-19121-RBR
         Debtor.                                               )
---------------------------------------------------------------x
---------------------------------------------------------------x
In Re:                                                         )
                                                               ) Chapter 11
1 WEST CAPITAL LLC                                             )
                                                               ) Case No. 18-19122-RBR
         Debtor.                                               )
---------------------------------------------------------------x

                          ORDER GRANTING MOTION FOR
                    THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

        Upon the Motion For The Appointment of A Chapter 11 Trustee (the “Motion”) [Docket

No.____]; the Court having reviewed the Motion; and a hearing having been held on the Motion

on ______________, 2018 (the "Hearing"); and the Court having found at the Hearing that good

and sufficient cause appearing; and the Court having found at the Hearing that (i) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334, (ii) venue is proper in this

district pursuant to 28 U.S.C. §1408 and 1409, (iii) this is a core proceeding pursuant to 28

U.S.C. § 157(b) and (iv) notice of the Motion was sufficient under the circumstances, and after

due deliberation the Court having determined that the relief sought in the Motion is in the best

interests of the Debtors, their estates, creditors and all parties in interest, and that the legal and

factual bases set forth in the Motion establish just cause for the relief granted herein; and after

due deliberation and sufficient cause appearing therefor, it is
       Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 59 of 100




       ORDERED, that the Motion is granted as provided herein; and it is further

       ORDERED, that United States Trustee is hereby directed to appoint one disinterested

person as the Chapter 11 Trustee under 11 U.S.C. § 1104 and Bankruptcy Rules 2007.1 and 9014

no later than _____days after entry of this Oder; and it is further

       ORDERED, that the Debtor and any other individual or entity in possession or control of

the Debtor’s records and property, or any records and property necessary to operate the Debtor,

shall turn over possession and/or control of such records and property to the Trustee to allow the

Trustee to operate and manage; and it is further

       ORDERED, that this Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the implementation of this Order.



Dated:________________, 2018
Ft. Lauderdale, Florida


                                                      ________________________________
                                                      United States Bankruptcy Judge
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                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION
                                            www. flsb.uscourts.gov
---------------------------------------------------------------x
In Re:                                                         )
                                                               ) Chapter 11
1 GLOBAL CAPITAL LLC,                                          )
                                                               ) Case No. 18-19121-RBR
         Debtor.                                               )
---------------------------------------------------------------x
---------------------------------------------------------------x
In Re:                                                         )
                                                               ) Chapter 11
1 WEST CAPITAL LLC                                             )
                                                               ) Case No. 18-19122-RBR
         Debtor.                                               )
---------------------------------------------------------------x



           MOTION FOR THE APPOINTMENT OF A CHAPTER 11 TRUSTEE

        Christopher Blackstone, James A Lochtefeld, Frank Rimi, Steve Ross Shelton, Richard

and Cynthia Davis, Khosrow Sohraby, Kara H. May, Stephen F. Sawa, the Estate of Lloyd

Ralph Albers, Allen G. Meek, Charles and Patricia Carpenter, Lilia A. Bautista, Edward C.

Smith and Doug Hullander, all unsecured creditors in the List of the Debtors’ 20 largest

creditors as members of the Ex Officio of Unsecured Creditors (the “Ex Officio Creditors’

Committee” or “Movants”), by and through its undersigned counsel, hereby move this court (the

“Motion”) for the entry of an order directing the appointment of a Chapter 11 trustee (the

“Trustee”) in the above-captioned Chapter 11 cases, substantially in the form attached hereto as

Exhibit A, under sections 105(a) and 1104(a)(2) of title 11 of the United States Code (the

“Bankruptcy Code”) and Rules 2007.1 and 9014 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”). In support hereof, the Movants respectfully state as follows:
         Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 61 of 100




                                PRELIMINARY STATEMENT

         1.    By this Motion, the Ex Officio Creditors Committee (“EOC”) seeks the

immediate appointment of a Chapter 11 Trustee to serve as a responsible fiduciary who can

oversee the operation of 1 Global Capital, LLC, a merchant cash advance business, pursuant to

Section 1104(a)(2) because it is in the best interests of creditors. Subsequent to the Petition Date

(as defined below), the EOC has made numerous attempts to obtain financial information from

the proposed Chairman of the Board, James Cassel and the Debtor’s proposed counsel,

Greenberg Traurig, and has received nothing.

                                      JURISDICTION AND VENUE

         2.    This Court has subject matter jurisdiction to consider and determine this matter

pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                  FACTUAL BACKGROUND

         3.    On July 27, 2018 (the “Petition Date”), the above-captioned debtors (the

“Debtors”) sought protection under Chapter 11 of Title 11 of the United States Code, thus

commencing these cases (the “Case”).

         4.    The fourteen members of the EOC collectively hold in excess of $14,000,000 of

loans against the Debtors. Prior to the Petition Date, members of the EOC were receiving

monthly statements and had no reason to suspect that the Debtor’s business affairs were not in

order.

         5.    On August 10, 2018, individuals in the Debtors’ top 20 largest unsecured

creditors telephonically held a conference call and elected Chris Blackstone as Chairman of the

EOC. Mr. Blackstone’s Affidavit is annexed hereto as Exhibit A. After communicating with
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numerous law firms, the EOC chose The Sarachek Law Firm and Stichter, Reidel, Blaine &

Prosser as their local counsel. Joseph Sarachek represents over 250 investors in an unrelated

bankruptcy case, Woodbridge Group Holdings, some of whom also have invested in the Debtor.

SRBP is a well-known Tampa firm specializing in bankruptcy. Both Mr. Sarachek and

representatives of SRBP attempted to schedule meetings with the Greenberg Traurig to obtain

financial information. Rather than timely provide information, the Debtor and its

representatives have refused to cooperate.

       6.      While this case is slightly over three weeks old, members of the EOC are

concerned because: 1) The Debtors’ are not making any new loans and the value of the Debtors’

good will is declining making it difficult to market the Debtor as a going concern; 2) Up until

August 10, 2018, the Debtor’s were not collecting on their accounts receivable; and 3) The

Debtors’ unilaterally terminated the operations of Brite Smile, an unrelated affiliate with a

significant receivable to the Debtors; 4) the Chairman of the EOC received a threatening letter

from the law firm representing the Debtors’ accountants, Daszkal Bolton; and 5) the

Professionals have yet to submit applications seeking their retention in these cases while making

critical decisions about the Debtors’ operations that seriously impact the creditors.


                              APPOINTMENT OF A TRUSTEE
                         IS ESSENTIAL TO PROTECT CREDITORS

       7.      Pursuant to Section 1104(a)(2):

 (a) At any time after the commencement of the case but before confirmation of a plan, on
request of a party in interest or the United States trustee, and after notice and a hearing, the court
shall order the appointment of a trustee—
 (2)
if such appointment is in the interests of creditors, any equity security holders, and other interests
of the estate, without regard to the number of holders of securities of the debtor or the amount of
assets or liabilities of the debtor.
       Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 63 of 100




1104 U.S.C. sec. 1104.

Upon information and belief, there are no secured creditors in this case. Therefore, the

unsecured creditors are the largest stakeholders in this case. Decisions are being made that

impacts their collateral. By appointing a Chapter 11 Trustee, creditors will have greater

transparency and certainty that the business will be preserved.


                                         CONCLUSION

       8.      Accordingly, the UOC respectfully requests that the Court enter its order a)

granting the Motion; b) ordering the appointment of a Chapter 11 Trustee under section

1104(a)(2)the Bankruptcy Code; c) ordering the Debtor and any other individual or entity in

possession of the Debtors’ records and property to cooperate with the Trustee and immediately

turn over to the Trustee all records and property of the estate in their possession or control; and

(d) granting the EOC such other and further relief as the Court may deem appropriate.

                                 RESERVATION OF RIGHTS

       9.      Movants expressly reserve their rights to assert, amend, modify or supplement

this Motion and to seek additional discovery and/or present evidence at any hearing in

connection with this motion.

For the aforementioned reasons, Movants respectfully request that this Court appoint a Trustee

immediately.

Dated: New York, NY
       August , 2018
                                                      THE SARACHEK LAW FIRM

                                              By:     /s/ Joseph E. Sarachek___________
                                                      Joseph E. Sarachek (Bar #2163228)
                                                      101 Park Avenue, 27th Floor
                                                      New York, NY. 10178
                                                      (212) 808-788
       Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 64 of 100




                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION
                                            www. flsb.uscourts.gov
---------------------------------------------------------------x
In Re:                                                         )
                                                               ) Chapter 11
1 GLOBAL CAPITAL LLC,                                          )
                                                               ) Case No. 18-19121-RBR
         Debtor.                                               )
---------------------------------------------------------------x
---------------------------------------------------------------x
In Re:                                                         )
                                                               ) Chapter 11
1 WEST CAPITAL LLC                                             )
                                                               ) Case No. 18-19122-RBR
         Debtor.                                               )
---------------------------------------------------------------x

STATE OF LOUISIANA                      )
                                        : ss.:
East Baton Rouge Parish                 )


Christopher Blackstone, being duly sworn, states:

    1. I am the largest creditor listed on the top twenty list of unsecured creditors of the Debtor,

        1 Global Capital LLC.

    2. On August 10, 2018, a group of fourteen of the largest creditors held a telephonic

        meeting and elected me as Chairman of the Ex Officio Creditors’ Committee (EOC).

    3. Members of the EOC felt the need to organize because we are extremely concerned that

        the professionals running the Debtor do not understand the importance of keeping the

        business running. We believe if the business shuts down, receivables will be more

        difficult to collect and our recovery as creditors will be severely impacted.
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4. I am a businessman and know many attorneys, as do other members of the EOC. We

   have received many solicitations from attorneys offering to represent us. A typical

   solicitation looks like the attached letter from Geoffrey Aaronson soliciting my support of

   him as counsel to the Committee. See Exhibit A. In paragraph 3 of his letter, Mr.

   Aaronson says “he has met with and had discussions with Debtors’ counsel and new

   management.”

5. After some deliberation, the EOC chose to hire Joseph Sarachek of The Sarachek Law

   Firm because we feel our chances for recovery will be improved by his representation of

   us. We also chose Stichter, Reidel, Blaine & Prosser to serve as our local counsel.

6. The EOC instructed Mr. Sarachek to meet with the Debtor’s representatives, however the

   Debtors’ representatives have refused. This is unacceptable to us. Debtors’ counsel

   claims they only want to meet with counsel to the Official Committee however it is clear

   from Mr. Aaronson’s letter that the Debtor’s representatives have met with him.

7. Furthermore, on August 10, 2018, I received the attached threatening letter from the law

   firm representing Daszkal Bolton. See Exhibit B. I know nothing about the

   circumstances that resulted in this letter other than it suggests to me that Daszkal Bolton

   is concerned about their liability in this case. Accordingly, I would ask the Court not to

   approve the representation of any firm or individual that is connected with Daszkal

   Bolton, the Debtors’ accountants.
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   8. Lastly, I respectfully request that this Court recognize the EOC as the Official Creditors’

      Committee. I have spoken with the US Trustee’s office and made it clear that speedy

      appointment of a Committee is critical.



                                                    _________________________________
                                                    CHRISTOPHER BLACKSTONE

Sworn to before me this
___ day of August, 2018


_________________________
Notary Public
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              Exhibit 12
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Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 69 of 100




              Exhibit 13
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 70 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 71 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 72 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 73 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 74 of 100
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Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 77 of 100
Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 78 of 100
    Case 7:18-cv-08393-NSR Document 1 Filed 09/14/18 Page 79 of 100

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settlement that was memorialized in a Plan Term Sheet that was filed on March 27, 2018, at

Docket No. 828, and can be accessed at: https://bit.ly/2H7hZjr. Subject to certain qualifications,

the Official Committee believes that under the Plan Term Sheet the Noteholders will receive a

recovery of approximately 62% to 76%. A statement filed by the Official Committee, which is

incorporated herein, can be accessed at https://bit.ly/2GKMEVF.

         WHEREAS, Sarachek is an attorney admitted to practice in the State of New York and

practices law representing clients under The Sarachek Law Finn; and

         WHEREAS, prior and after the Governance Order was entered, the Committee's counsel

has alleged that Sarachek and others working on his behalf solicited noteholders of the

Woodbridge estates in an effort to establish attorney-client relationships (the "Solicitations") and

represent them on a contingency fee basis in establishing the seniority of their claims; and

         WHEREAS, disputes have arisen between the Parties concerning certain aspects of the

manner and content of the Solicitations and the terms upon which Sarachek will be compensated;

and

         WHEREAS, the Parties desire to resolve their disputes concerning the Solicitations

pursuant to the terms set forth below,

        NOW, WHEREFORE, in exchange for the promises and stipulations set forth herein, the

Parties agree as follows:

                  1.         If Sarachek engages in any future Solicitations, he shall comply with all

applicable rules of professional responsibility, including but not limited to, the New York Rules

of Professional Conduct, the Delaware Lawyers' Rules of Professional Conduct, and the

American Bar Association Model Rules of Professional Conduct (collectively, the "Ethical

Rules"). In that regard and without limiting the obligation to comply with all of the Ethical



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           Case 17-12560-KJC           Doc 1659       Filed 04/26/18     Page 10 of16




Rules to which Sarachek expressly agrees, Sarachek shall, among other things, clearly state

"ATTORNEY ADVERTISING" on all written Solicitations.

               2.       Sarachek shall not use or rely on any current or former sales agent or

broker of any of Woodbridge's "products" (collectively, the "Brokers") as an instrumentality for

any future Solicitations; however, nothing herein shall stop these Brokers from recommending

Sarachek' s services if they do so not at the request, direction or encouragement of Sarachek or

his agents. In that regard, Sarachek shall not share fees with, or otherwise compensate, any

Broker in connection with any Solicitation or Sarachek' s efforts in these Cases.

               3.      Within five (5) days of the Court's approval of this Stipulation, Sarachek

shall send a letter ("Clarification Letter") in the fonn attached hereto as Exhibit "A" via email or

U.S. post to each of his existing clients who retained him in connection with the Cases that

includes the following:

               •    A disclosure that the Noteholder Committee (a) exists and has retained
                    counsel and a financial advisor; (b) has fiduciary obligations to act on behalf
                    of all Noteholders, including trying to make them secured (notwithstanding
                    the position of the Debtors and the Committee that they are unsecured); and
                    (c) is funded with a $2.2 million budget to be paid for exclusively from the
                    Debtors' estates, which funds ultimately come from creditor recoveries (and
                    that no individual noteholder will be directly charged anything for the costs
                    and expenses of the Noteholder Committee or their professionals).
               • Provide contact information to the Official Committee's, Noteholder
                 Committee's and Unitholders' Committee's respective counsel.

               •    A disclosure that a global settlement has been reached in these cases among
                    the Debtors, the Committee, the Noteholder Committee and the Unitholders'
                    Committee, which those groups believe resolves all issues between and
                    among them, including the issue whether the Noteholders are secured
                    creditors. The global settlement has been memorialized in a plan term sheet
                    (the "Plan Tenn Sheet"). The Plan Term Sheet can be accessed at:
                    https:/lbit.ly/2H7hZjr, and a statement by the Official Committee in support of
                    the Plan Term Sheet can be accessed at https:/lbit.ly/2GKMEVF, which
                    statement provides thatthe Official Committee believes that Noteholders will
                    receive a recovery in the range of 62% to 76%, subjeCt to certain
                    qualifications.
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                  •    The contingent fee due to Sarachek under his engagement letter for
                       bankruptcy related services shall be based on: the agreement as has been
                       negotiated between the Committee and Sarachek. Any fee dispute between
                       Sarachek and any client relating to this case shall be determined by the
                       Bankruptcy Court.

                  •    A disclosure that Sarachek believes that all Noteholders should not be treated
                       the same because differences exist based on, among other factors, the value of
                       the collateral, the jurisdiction of the property, the underlying security
                       documents and perfection issues and he has filed an adversary proceeding
                       seeking to enforce the perfection and security of certain Noteholders interests.

                  •    As set forth in Sarachek' s engagement letter and under the New York Rules of
                       Professional Conduct, if any client wishes to terminate their engagement
                       agreement, they may do so without cost, expense or penalty, and Sarachek
                       shall return all documents and information he received from the withdrawing
                       client to the withdrawing client at no charge to the withdrawing client within
                       ten ( 10) business days of the client actually receiving the letter in Exhibit" A."
                 4.          Within ten (10) days of this Stipulation, Sarachek shall file a certification

with this Court that he has complied with this Stipulation, which certification shall include a

copy of each letter he sent.

                  5.         Sarachek represents and warrants that he has not directed any Solicitations

to any Unitholders, and that he does not represent any Unitholders (except to the extent these

clients also hold Notes).

                 6.          Within five (5) days of the date of this Stipulation, Sarachek shall file an

amended statement in full and complete compliance with Federal Rule of Bankruptcy Procedure

2019, including, without limitation, disclosing the name of each creditor or equity security holder

at whose request the employment was arranged.

                 7.          Based upon the representations and agreements set forth herein, the

Debtor and Committees consent to Sarachek's motion to be admitted pro hac vice to this Court,

provided,. however, that the Parties acknowledge that only the Court has the power to decide

whether to admit an attorney pro hac vice.


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                8.    Nothing herein shall constitute, or be deemed to be, an admission that

Sarachek has engaged in any wrongdoing or is liable for any of the conduct described herein.

                9.    To the extent permitted by the Ethical Rules, nothing herein shall limit the

right of the Committee's, Noteholders Committee's or Unitholders Committee's counsel from

contacting any member of its constituency, whether or not represented by Sarachek, and

communicating the status of these cases, including, without limitation, providing estimates of

recoveries.
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           Case 17-12560-KJC   Doc 1659       Filed 04/26/18   Page 13 of 16




 Dated: Aprit1..$, 2018          PACHULSKI STANG ZIEHL & JONES LLP



                                 Richard M. Pachulski (CA Bar No. 90073)
                                 James I. Stang (CA Bar No. 94435)
                                 Jeffrey N. Pomerantz (CA Bar No. 143717)
                                 Bradford J. Sandler (DE Bar No. 4142)
                                 Colin R. Robinson (DE Bar No. 5524)
                                 919 North Market Street, 17th Floor
                                 P.O. Box 8705
                                 Wilmington, DE 19899 (Courier 19801)
                                 Telephone: 302-652-4100
                                 Facsimile: 302-652-4400
                                 E-mail: rpachulski@pszjlaw.com
                                          j stang@pszj law .com
                                          jpomerantz@pszjlaw.com
                                          bsandler@pszjlaw.com
                                          crobinson@pszj \aw. com

                                 Counsel for the Official Committee of Unsecured
                                 Creditors

 Dated: April     -vY, 2018      THE SARACHEK LAW FIRM




                                  Counsel for Lise La Rochelle and various Noteholders




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                              ON SARACHEK LAW FIRM LETTERHEAD


TO OUR CLIENTS:
        As many of you are aware, on or about February 9, 2018, a dispute arose between my law
firm and the Official Committee of Unsecured Creditors of the Woodbridge Companies (the
"Official Committee") with respect to, among other things, whether my solicitation of clients,
including you, complied with applicable ethical rules. In an effort to resolve this issue
consensually with the Official Committee, I am required to inform you of the following:

         •        A Noteholder Committee (a) exists and has retained counsel and a financial advisor;
                  (b) has fiduciary oblig!ltions to act on behalf of all Noteholders, including trying to
                  make them secured (notwithstanding the position of the Debtors and the Committee
                  that they are unsecured); and (c) is funded with a $2.2 million budget to be paid for
                  exclusively from the Debtors' estates, which funds ultimately come from creditor
                  recoveries (and no individual noteholder will be directly charged anything for the
                  costs and expenses of the Noteholder Committee or their professionals).

         •        A global settlement has been reached in these cases among the Debtors, the Official
                  Committee, the Noteholder Committee and the Unitholders' Committee, which
                  those groups believe resolves all issues between and among them, including the
                  issue whether the Noteholders are secured creditors. The global settlement has been
                  memorialized in a plan term sheet (the "Plan Term             that can be found at
                  https:/lbit.ly/2H7hZjr. The Official Committee has issued a statement in support ·
                  ofthe Plan Term Sheet that can be accessed at https://bit.ly/2GKMEVF, ·which
                  statement provides that the Official Committee believes that Noteholders will
                  receive a recovery in the range of 62% to 76%, subject to certain qualifications.

         •        Intentionally omitted from this Exhibit is language negotiated between the
                  Committee and Joseph E. Sarachek (that language will be added to actual client
                  letters). Any fee dispute between client and Joseph E. Sarachek will be determined
                  by the Bankruptcy Court administering the Woodbridge Cases.

         •        Notwithstanding the existence of the Noteholder Committee and the Plan Term
                  Sheet, I believe that all Noteholders should not be treated the same because
                  differences exist based on; among other factors, the value of the collateral, the
                  jurisdiction of the property, the underlying security documents and perfection
                  issues and we have filed an adversary proceeding seeking to enforcethe perfection
                  and security of certain Noteholders' interests. A copy of that proceeding can be
                  found at 7 12560/840_12560. pdf.

         •        As set forth in my engagement letter with you and under the New York Rules of
                  Professional Conduct, you may terminate my engagement agreement within ten
                  (10) days of receiving this letter, without cost, expense or penalty. If you terminate,
                  I will return all documents and information I have received from you at no charge


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           Case 17-12560-KJC          Doc 1659         Filed 04/26/18      Page 16 of 16




              to you.
       Further, I am required to provide you with the contact information to the Official
Committee's, Noteholder Committee's and Unitholders' Committee's respective counsel, which
appears below:

              Counsel for the Official Committee of Unsecured Creditors:

              Pachulski Stang Ziehl & Jones, LLP
              Bradford J. Sandler, Esquire
              919 North Market Street, l'l'h Floor
              Wilmington, DE 19801
              Telephone: 302-652-4100
              bsandler@pszjlaw.com
              Counsel for the Ad Hoc Noteholder Committee:

              Drinker Biddle & Reath
              Steven K. Kortanek, Esquire
              222 Delaware Avenue, Suite 1410
              Wilmington, DE 19801
              Telephone: 302-467-4200
              steven.kortanek@dbr.com
              Counsel to the Official Ad Hoc Committee ofUnitholders

              Venable, LLP
              JeffreyS. Sabin, Esquire
               1270 Avenue of the Americas
              New York, NY 10020
              Telephone: 212-307-5500
              jssabin@venable.com


        Should you have any questions regarding this letter, please do not hesitate to contact me or
any of the Committees listed above.


                                                        Sincerely yours,


                                                        Joseph E. Sarachek




                                                 1()
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----- Forwarded Message -----
From: DONALD STEC <donald.stec@comcast.net>
To: "cwblacks1@cox.net" <cwblacks1@cox.net>; "jalochtefeld@gmail.com" <jalochtefeld@gmail.com>;
"rrasner@comcast.net" <rrasner@comcast.net>; "svetlana.ruderman@gmail.com"
<svetlana.ruderman@gmail.com>; "glipman@gmail.com" <glipman@gmail.com>; "addison_oaks@yahoo.com"
<addison_oaks@yahoo.com>; "steve69048@yahoo.com" <steve69048@yahoo.com>;
"berniebacktobasics@gmail.com" <berniebacktobasics@gmail.com>; "correspondence2017@gmail.com"
<correspondence2017@gmail.com>; "chrisshealy@msn.com" <chrisshealy@msn.com>; "sfsawa@hotmail.com"
<sfsawa@hotmail.com>; "lealbers@aol.com" <lealbers@aol.com>; "cassiusholdings@gmail.com"
<cassiusholdings@gmail.com>; "allengmeek@gmail.com" <allengmeek@gmail.com>; "ksohraby@yahoo.com"
<ksohraby@yahoo.com>; "lilbautista@aol.com" <lilbautista@aol.com>; "charley.carpenter@arconic.com"
<charley.carpenter@arconic.com>; "hvhope2000@aol.com" <hvhope2000@aol.com>; "admin@aaishares.com"
<admin@aaishares.com>; "admin@davidortizadvisor.com" <admin@davidortizadvisor.com>;
"kimrasner@comcast.net" <kimrasner@comcast.net>; "cwblacks1@icloud.com" <cwblacks1@icloud.com>;
"carpen@charter.net" <carpen@charter.net>
Cc: "kbaisley@lrwlaw.com" <kbaisley@lrwlaw.com>
Sent: Wednesday, August 22, 2018, 8:09:11 PM EDT
Subject: First Global Capital (1GC) - Top 20 Unsecured Creditors/Investors



Dear Fellow 1GC Investors:




My name is Don Stec. I live in Knoxville, TN and similar to each of you, my financial future was recently
impacted by 1GC’s bankruptcy announcement. Like you, I am one of the top 20 unsecured creditors in the 1GC
bankruptcy and I am sending this e-mail to let you know that despite repeated information that an attorney has
been retained to represent the clients of Wieniewitz Financial who have been impacted by the bankruptcy, I
have chosen to seek counsel of my own here in Knoxville to assist in recovering my substantial investment.

Quite simply and speaking from the heart, I have chosen not to sit back and wait for other’s advice in this
matter (especially from the very individual that had me invest my retirement into 1GC just this past March),
but instead to be proactive and do whatever I can to take control of this situation to protect my future and
recover my money.

The individual I have chosen to represent me, Kyle A. Baisley of Long, Ragsdale & Waters is a professional,
knowledgeable attorney with many years of experience representing clients in bankruptcy and investment
situations similar to ours. I retained this individual to represent me within the first week of the bankruptcy
announcement and in the short time this attorney and I have worked together, very positive and proactive
relationships have been established between us and multiple interested parties in the 1GC case including the
Department of Justice (DOJ), representatives from the Securities and Exchange Commission (SEC) and other
attorneys that are close to the situation and knowledgeable of all of the players involved (Mr. Geoffrey
Aaronson included). Mr. Baisley has also put the US Trustee’s Office on notice of some concerns that we have
with respect to actions being taken by Wieniewitz Financial, Trae Wieniewitz and Joseph Sarachek to corral a
large group of creditors for their own benefit.

As I see it, there are two simple choices that any of us can make at this time:
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                          1.   Sit back and wait to be kept informed with limited information that may be in
                               other’s best interest, and not ours; or
                          2.   Become proactive, engaged, and informed in doing everything possible to take
                               control of re-securing our financial future.

Please be advised that we have obtained information leading to a conclusion that Mr. Joseph Sarachek may not
be the best individual to consider as the attorney to represent the unsecured creditors committee. I know that
you may have already signed an engagement letter of sorts with Mr. Sarachek, but it is not too late to change
your mind as the attorney to be selected for the official Unsecured Creditors Committee has not been
finalized. There is no such thing as an ”unofficial creditors committee,“ despite what Mr. Sarachek has stated in
past emails. My independent research indicates that Mr. Sarachek is primarily a “Claims Trader” and I do NOT
believe that he has our interests in mind. See https://www.triaxcap.com/who-we-are I sincerely believe that
his efforts to represent any of us and/or the Unsecured Creditors Committee is simply an “in” for him to have
more access to information that will benefit him in brokering each of our claims.

I am informed that the Office of the United States Trustee determines the make-up of the Unsecured Creditors
Committee, and that the 1GC Bankruptcy Court must approve counsel for the Unsecured Creditors Committee.
Neither has occurred yet. I believe it imperative that we choose competent counsel who will look out for OUR
interests, and not a Claims Trader looking to take 3% of our recovery in addition to whatever margin he may be
able to squeeze out by brokering our claims.

I also know that your heads may be spinning with all the advertisements being received from attorneys
interested in representing you, but I am not an attorney. I am in this mess along with you and would simply
like to share information to help us all make the best and most informed decision possible and to keep us from
being steered off of a cliff once again.

If you are interested in learning more and hearing what we are doing, please do not hesitate to call or reply. I
can arrange for us to meet (in person or via phone for those of you who do not live in Knoxville) with my
attorney to share what information we have at this time. In any event, there are many other very competent
attorneys and professionals who can represent us and do not have pre-existing agendas or ulterior motives.
Please consider this over the coming days as things will move quickly and the decisions that we make are of the
utmost importance.

Thanks very much for your interest and look forward to hearing from you in the near future.




Don Stec

609-410-5606

donald.stec@comcast.net
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joe@saracheklawfirm.com>

Fri, Aug 24, 8:43 AM



to DONALD, Kyle

Dear Mr. Baisley and Mr. Stec,

I heard that you disparaged me yesterday by questioning my motives in representing creditors
of 1 Global. I heard you promoted Mr. Aaronson. I would like you to consider my response and
keep an open mind:
• Check out my references, particularly Jan Castenada, a lawyer and creditor in Woodbridge:
◦          Jan Castenada, Former Counsel of Albertsons Supermarkets and real estate
                 attorney. jancastaneda@msn.com 561 237-5696. Ms. Castenada is an
                 investor in Woodbridge Group and is a sophisticated attorney who has witnessed
                 my work on behalf of noteholders in that bankruptcy case. She will affirm that we
                 are the only law firm standing up for the rights of investors.
• James Carr, Chairman Kelley Drye & Warren, https://www.kelleydrye.com NYC law
        firm. 212 808-7955. Carr has known me professionally and personally for over 25
        years. Mr. Carr can speak to my legal skills and passion for my clients.
• Jay Goldsmith. Balfour Investors, https://www.balfourinvestors.com. 212 489-
        8040. Goldsmith knows me 30 years and also knows that professionally I handled one
        of the largest meat industry bankruptcies as Trustee and separately one of the large art
        gallery cases. I also was instrumental in obtaining a presidential commutation from
        President Trump of a 27 year prison sentence of the CEO of Agriprocessors.
• Adam Aronson, CEO Arrowsight. https://www.arrowsight.com 914 953-1071. Arrowsight is
        a video software auditing company that services meat plants, hospitals and other
        institutions. After 9/11, I helped change the focus of Arrowsight towards a commercial
        marketplace and raised critical funds to keep Arrowsight going.


Here's what I know:

1 The best avenue for creditors to get repaid in full is to have an operating business. For that
       we need financial information which the Debtor has refused to give. That's why I wanted
       an informal committee appointed, to get information. When some of my existing
       clients in Woodbridge called me to tell me about 1 Global, I called James Cassel and
       said I know someone in the MCA business and he "might" be interested in the business
       as a going concern. In fact, the guy was willing to look. Did Mr. Cassel call him.
       NO! Why didn't he? This is very troubling to me.
2 In my opinion, you do not want someone who is friends with the Debtor's attorneys like Mr.
       Aaronson because this business is not about friendship, its about recovering the most
       money. This is a one time engagement for lawyers like Aaronson. He needs the
       cooperation of these other lawyers day in his other cases. I don't care about being a
       muckraker and pissing off Miami lawyers, I just want all your money back and will do
       what it takes to get it back.
3 I don't need this representation, I do it because I love what I do. Yes, I have many other
       businesses, claims trading (triaxcap.com), life settlements (www.emergentcapital.com)
       but that's what makes me a practical creditors' rights lawyer. I practice law because I
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        want to get you 100% back. And by the way, if I'm chosen as Committee counsel, the
        3% fee arrangement terminates. But I'm not about fees, I'm about results. Ask Jan
        Castenada what she thinks. I've never sought to protect the brokers. And by the way, I
        have NO side deals with them. As you know, Mr. Baisley, this is against the rules of
        professional ethics.
4 Let's see who is chosen for the Committee and then decide who will get you back all your
        money. The fastest way to get your money back is out of the business not lawsuits that
        drag on for years.
5 Lastly, I have no loyalty to Trae or any broker or advisor; ask Jan again. I just want to set the
        record straight. Best, Joe
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